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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

_____________________________________________________________________________

United States of America,                                  Criminal No. 05-417 (1) (RHK/SRN)

                Plaintiff,                                                ORDER

                v.

Richard Louis Ennen, III,

            Defendant.
_____________________________________________________________________________


        Defendant’s May 25, 2007 letter request (attached) for extension of the June 4, 2007 voluntary

surrender date is GRANTED as follows: the surrender date is extended to Thursday, June 28, 2007.

There will be no further extensions.




Dated: May 30, 2007
                                                       s/Richard H. Kyle
                                                       RICHARD H. KYLE
                                                       United States District Judge
